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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


ROBERT D. KORNAGAY,

                 Plaintiff,

v.                                         Case No. 3:17-cv-795-J-34MCR

OFFICER T. DIEDEMAN, et al.

               Defendants.
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                                   ORDER

      Plaintiff’s Unopposed Motion to Amend the Complaint and to

Enlarge the Time for Discovery by 60 Days (Doc. 43) is GRANTED.

Plaintiff has added two Defendants in the Amended Complaint (Doc.

44). The Clerk is directed to update the docket accordingly.

Plaintiff shall serve the Amended Complaint (Doc. 44) on Defendants

Avants and Lindboe by March 29, 2019 and provide proof of service.

See Fed. R. Civ. P. 4(l)(1).

      The Court finds good cause to extend the following deadlines:

            a.   The parties shall conduct discovery so the due date

                 of any discovery requested is no later than April

                 29, 2019. Any motions relating to discovery shall

                 be filed by May 9, 2019.

            b.   All motions to dismiss and/or for summary judgment

                 shall be filed by June 13, 2019.
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            c.    Responses to any motions to dismiss and/or for

                  summary judgment shall be filed by July 29, 2019.

      DONE AND ORDERED at Jacksonville, Florida, this 22nd day of

February, 2019.




                                                                            
                                                                            

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c:
Counsel of Record
 




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